Case: 1:16-Cv-03609 Document #: 24 Filed: 11/15/16 Page 1 of 1 Page|D #:120

IN THE UNITED STATES DISTRICT COURT
. FOR THE NORTHERN DISTRICT OF ILLI`NOIS

MA.RCIA MAR.AS,

Plaintiff,

v.
HIGHLAND PARK CVS, LLC, d/b/a
CVS/PHARMACY #8698; AMERICAN
BOTTLING COM]’ANY, ]NC.; and
DR. PEPPER SNAPPLE GROUP, ]NC.,

Defendants.

EASTERN DIVISION

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) Casc No.: 16 CV 03609
) Judge Gaiy Feinerman
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STIPULATION 'I`O DISMISS

IT IS HEREBY STIPULATED AND AGREED by and between the undersigned parties to this suit that

the above-captioned case be voluntarily dismissed with prejudice and without costs to any party, all claims,

including and counterclaims or claims for fees or costs having been compromised and settled.

MARCIA

By: '
One of Pizil`lii£ljs attorneys

Matthew Siporin

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AMERICAN BOTTLING COM.PANY, INC. and

 

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